 Case 1:18-cv-00950-LO-JFA Document 163 Filed 05/22/19 Page 1 of 14 PageID# 4250



                              UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                         Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.




             REPLY IN FURTHER SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL

             Careful parsing of Cox’s Opposition makes clear that Cox has the three requested

     categories of documents, each is relevant, and the burdens involved in production are proportional

     to the needs of the action. The roadblocks Cox has constructed to hinder the requested discovery

     are unavailing. Cox concedes that the requested revenue and notice data are relevant and that Cox

     possesses such data in two specifically identified databases (the financial data in ICOMS and

     notice information in CATS). Asking Cox to extract relevant data from these two databases is

     hardly a novel or unreasonable request. And emails concerning Cox’s copyright abuse handling

     easily pass the bar for relevance. Cox withholds the responsive documents only because it knows

     they hurt its case. It should be ordered to produce them.

                                              ARGUMENT

        I.      Revenue Information for Infringing Subscribers

             Whether Cox calls it “revenue information” or “billing information,” Cox has financial

     data showing the payments it received from its infringing subscribers. Cox concedes that this

     information is relevant. It should be ordered to produce records detailing the monies it received,
Case 1:18-cv-00950-LO-JFA Document 163 Filed 05/22/19 Page 2 of 14 PageID# 4251



 from 2011 to present, by quarter and year, from each subscriber who was the subject of an

 infringement notice from Plaintiffs. If it is easier for Cox to produce the information by month,

 because that is how its system stores the data, that is obviously fine.

                a. Cox Possesses the Requested “Revenue Information”

        In arguing that it does not have revenue data at the subscriber level, Cox apparently wants

 the Court to believe the unbelievable—namely, that it provides service and sends bills to millions

 of customers without tracking whether or not they pay. It is impossible that Cox—or any other

 business—could operate that way. The declarations upon which Cox relies confirm that it has

 revenue information and can produce it, notwithstanding its unnecessarily complex and

 implausible claims to the contrary.

        Citing paragraphs 3 through 5 of the Sanford Mencher declaration, Cox argues that it “does

 not track revenue by subscriber, and does not keep records that would permit it to retrieve or

 produce revenue information on a per-subscriber basis.” (Opp. at 4.) However, the Mencher

 declaration is terse, cryptic, and unavailing. Without indicating how Cox tracks payments, Mr.

 Mencher summarily states, “Cox does not track revenue … at the subscriber level, and does not

 generate reports containing such information in the ordinary course of business.” (Mencher Decl.,

 at ¶ 3.) In the same paragraph, he adds that “[he] is not aware of any existing reports” that would

 show, on a subscriber-by-subscriber basis, the revenue attributable to the Cox subscribers who

 were the subject of Plaintiffs’ infringement notices. Id. (emphasis added).

        Whatever those statements mean, nowhere does Mr. Mencher clearly and unambiguously

 assert that Cox lacks records with information showing revenue it received from infringing

 subscribers. When Mr. Mencher discusses Cox’s ICOMS database system, he does not state that

 it lacks revenue information for subscribers. Just the opposite, in apparent conflict with his earlier




                                                       2
Case 1:18-cv-00950-LO-JFA Document 163 Filed 05/22/19 Page 3 of 14 PageID# 4252



 statements, Mr. Mencher indicates that “[t]he ICOMS system does not maintain or store complete

 revenue information, and lacks information that is necessary for accurately calculating revenue.”

 (Id., at ¶ 5 (emphasis added).)

        Mencher fails to explain what revenue information ICOMS contains and why he deems it

 not to be “complete” or a means for “accurately calculating revenue.” Nor does Mencher explain

 anything at all about how Cox tracks payments against billings, as any business must do. His

 declaration is insufficient. See Equal Employment Opportunity Comm'n v. Health, No. 16-MC-

 55-WJM-CBS, 2017 WL 3821781, at *7 (D. Colo. Sept. 1, 2017) (“conclusory assertions in

 declarations” on difficulty of retrieving data “are not sufficient to support an objection to

 discovery”). Cox should be ordered to produce whatever revenue information it has for the

 infringing subscribers cited in Plaintiffs’ infringement notices. Cox can later argue the weight that

 information should be afforded.

                b. Alternately, Cox Should Produce What It Calls “Billing Information”

        Proceeding on the questionable predicate that it lacks data to show payments from a given

 subscriber, Cox discusses the possibility of producing billing information in lieu of revenue

 information. (Opp. at 4.) Cox unnecessarily complicates this option, no doubt hoping the Court

 will become frustrated and deny the request.

        As a threshold matter, it is unclear why Cox describes this alternative as something

 different than producing revenue information. Cox has already identified the precise subscribers

 identified in Plaintiffs’ notices, which it indicates to be roughly 58,000 subscribers in total. (Opp.

 at 4, citing Jarchow Decl., at ¶ 5.) Cox acknowledges that its ICOMS database system includes

 the “actual billing information” as well as “accounts receivable data” to track “account aging,

 accounts receivable, and debits and credits.” (Id., at ¶ 3.) Cox further explains that the system




                                                       3
Case 1:18-cv-00950-LO-JFA Document 163 Filed 05/22/19 Page 4 of 14 PageID# 4253



 tracks pricing, discounts, and net billing to the subscriber. (Id., at ¶ 4.) Cox even indicates that it

 can produce “a billed-dollars report similar to a spreadsheet.” (Id., at ¶ 6.) Thus, it would appear

 that this system tracks what Cox billed subscribers who infringed Plaintiffs’ works versus what

 amounts, if any, remain unpaid.

          Cox argues that the billing data “would be extremely burdensome to extract and produce.”

 (Opp. at 4.) To prop up this argument, Cox walks through the time it would take to retrieve this

 information manually. (Id.) Of course, a data pull for 58,000 infringing subscribers would be

 automated, not manual. Cox contends that extracting the data on an automated basis would cost

 roughly $15,000 and that such cost is not warranted, given what Cox describes as the “marginal

 relevance” of the information. (Id., citing Jarchow Decl., at ¶6.) This argument has no merit.

         First, Cox’s proportionality argument ignores context and its own efforts to impede this

 discovery. Plaintiffs have no doubt that Cox has already incurred at least $15,000 (and likely much

 more) in resisting this discovery, which it concedes is relevant. If Cox’s motivation were to avoid

 costs, rather than prevent Plaintiffs from obtaining relevant discovery to prepare their case, it

 would have been much more efficient for Cox to provide the documents.1

         Second, this is a large case, with important issues and significant potential damages at

 stake. The case involves Cox’s infringement of nearly 11,000 of Plaintiffs’ copyrighted works,

 spanning years, and the burden and expense of the proposed discovery is proportional to the needs

 of the case. Against that backdrop, along with the breadth of the back and forth discovery, the

 expense that Cox cites is something that each side is bearing in the ordinary course.




         1
            See SAP America, Inc. v. Investpic, LLC, Civil Action No. 3:16-CV-02689-K, at *4, 10 (N.D. Tex., Dec.
 04, 2018), attached hereto as Gould Decl. Ex. A (noting the billing rates of Winston & Strawn’s intellectual property
 attorneys, “which range from $745.00 – $1,175.00 per hour for partners and from $405.00 – $650.00 for associates”).


                                                               4
Case 1:18-cv-00950-LO-JFA Document 163 Filed 05/22/19 Page 5 of 14 PageID# 4254



        Third, Cox has demanded, and this Court has required, that Plaintiffs incur far greater costs

 in pulling revenue information more attenuated than the relevant information Plaintiffs seek in this

 motion. For each of the thousands of works in suit, Plaintiffs are required to assemble documents

 showing historic revenue data by work and by four separate channels, in many cases from multiple

 locations—information that speaks only to past revenue for a work, not the revenue that Plaintiffs

 lost each time a Cox subscriber infringed the work. On the other hand, information as to the

 revenue that Cox received from its infringing subscribers, including those it chose not to terminate,

 is far more probative, falling squarely within a jury’s considerations when assessing statutory

 damages.

        Cox’s argument that Plaintiffs’ election of actual damages means the relevance is “at best

 attenuated” holds no water. Statutory damages are “not fixed or readily calculable from a fixed

 formula.” Feltner v. Columbia Pictures Television, Inc., 523 U.S. 340, 352–53. In assessing

 damages, a jury is certainly entitled to consider Cox’s ill-gotten gains, including revenue from

 subscribers who infringed Plaintiffs’ works. A jury is also entitled to see the relationship between

 Cox’s receipt of revenue for a subscriber correlated against Cox’s receipt of infringement notices

 for that subscriber. Cox labors to keep this information out of the case because it fears how a jury

 may regard it while assessing the need for deterrence, a core consideration. See, e.g., Bryant v.

 Media Right Prods., Inc., 603 F.3d 135, 144 (2d Cir. 2010) (citing the deterrent effect on the

 infringer and third parties as a factor for juries to consider when assessing statutory damages for

 copyright infringement); EMI Apr. Music, Inc. v. White, 618 F. Supp. 2d 497, 508 (E.D. Va. 2009)

 (emphasizing the “important deterrent effect served by statutory damages” for copyright




                                                      5
Case 1:18-cv-00950-LO-JFA Document 163 Filed 05/22/19 Page 6 of 14 PageID# 4255



 infringement) (citing F.W. Woolworth Co. v. Contemporary Arts, 344 U.S. 228, 233, 73 S.Ct. 222,

 97 L.Ed. 276 (1952)).2

          Cox raises the idea that it “would provide exemplar information on billing for a small

 sample group of customers, say 5 per tier of service, for plaintiffs to get a sense of the billing at a

 product tier level manually.” (Opp. at 4 n.1, citing Jarchow Decl. ¶ 8.) While better than nothing,

 that sampling is grossly insufficient (and relates to a different document request the parties have

 been discussing, but is not part of Plaintiffs’ motion). It fails to provide the aggregate revenue Cox

 received from infringing subscribers and fails to provide the revenue Cox received from specific

 subscribers it knew were infringing Plaintiffs’ works. For these same reasons, Cox’s production

 of Cox’s overall revenues for its residential telephone, television, and internet divisions (see Opp.

 at 5, 7), does not satisfy the need for the requested data concerning revenue from infringing

 subscribers.

                   c. While the Time Period Is Appropriate, Plaintiffs are Flexible

          Finally, the time period requested, 2011 to present, is appropriate. It is the exact period for

 which the Court ordered Plaintiffs to produce revenue information for the works in suit. Cox does

 not contest the relevance of the revenue information for 2013 through 2014, which encompasses

 the time period of Plaintiffs’ claims. Revenue from 2015 forward is clearly relevant too. Had Cox

 terminated a repeat infringer subscriber, it would have lost revenues for that subscriber. If it did

 not terminate, and instead continued to generate revenue from that subscriber after 2014, those ill-

 gotten gains are relevant. In assessing the need to deter Cox and third-parties, a jury needs to know

 about the illicit revenue that Cox obtained by continuing to provide service to known repeat



 2
   Cox is wrong on what is required to prove the direct financial benefit prong of vicarious liability. For this motion,
 however, it is not necessary to delve into that issue further because the requested information is clearly relevant to the
 statutory damage analysis.


                                                                 6
Case 1:18-cv-00950-LO-JFA Document 163 Filed 05/22/19 Page 7 of 14 PageID# 4256



 infringers. For 2011 and 2012, the revenue information is relevant because it provides some basic

 context for the years that follow, including seeing changes in the services that the subscriber

 received from Cox. In the event the Court disagrees about 2011 and 2012, it should nevertheless

 compel production for 2013 to present.

    II.      Emails and Communications Concerning Cox’s Responses To, Handling Of, and
             Attitude Towards Infringement Notices

          Cox should be ordered to produce emails and communications concerning its response to,

 handling of, and attitude towards infringement notices, for the period of 2010 through 2014. As it

 does so, Cox should be transparent with Plaintiffs about the custodians and search terms it uses

 and any subsequent decisions on responsiveness. Cox does not argue there is any burden involved

 in producing the requested documents. This is for a good reason as Cox no doubt already searched

 for and produced many or all of these documents in the BMG action. Instead, Cox misleads the

 Court by responding to the initial discovery requests that support this more tailored motion for

 “emails and communications” (rather than “all documents”), while ignoring the substance and

 relevance of what the motion actually seeks. Cox attempts to exclude those probative documents

 from this case by making strained arguments about relevance.

                 a. Cox Misreads this Court’s Prior Rulings

          Hoping to avoid production, Cox overstates and mischaracterizes an earlier ruling from

 this Court. (Opp. at 8, 10.) In December 2018, this Court ruled that Plaintiffs’ request for all

 copyright notices that Cox received during the period of 2010 through 2014, without limitation to

 the copyright holder, sender, or work, was overbroad, unduly burdensome and not proportional to

 the needs of the case. The ruling concerned copies of infringement notices, not emails, and was

 not a relevance determination. As Plaintiffs understand it, the ruling also does not mean that Cox’s

 emails are irrelevant unless they involve Plaintiffs or Plaintiffs’ works.



                                                       7
Case 1:18-cv-00950-LO-JFA Document 163 Filed 05/22/19 Page 8 of 14 PageID# 4257



        As Plaintiffs have explained, in the BMG case this Court rejected the precise limitations

 Cox has imposed here, denying Cox’s motion to exclude as irrelevant Cox’s emails from prior to

 the claim period, concerning works not in suit, regarding notices from other copyright holders.

 Critically, the Court held that emails demonstrating Cox’s response to, handling of, and attitude

 towards infringement notices are “highly probative on the issue of willfulness and willful

 blindness,” even though they pre-date the claim period and do not involve the plaintiffs’ notices or

 works. BMG v. Cox, Case No. 1:14-cv-1611, ECF No. 1018 at 2. The Court explained that “Cox

 should not be able to characterize its response to infringement notices as made in good faith while

 preventing the jury from seeing evidence to the contrary.” Id. It further explained that “Cox’s

 internal policies and procedures related to infringement were of course established prior to [the

 claim period], and it is those policies and procedures that Cox applied when it received notices of

 infringement for BMG’s work at issue.

        In this case as well, Cox should not be able to hold back relevant evidence demonstrating

 its practices for ignoring infringement so that it could continue profiting from subscriber revenue.

 The differences in parties and works in suit between this case and BMG do not obviate the logic

 behind Judge O’Grady’s ruling. Cox refused to accept any infringement notices from BMG

 through its anti-piracy vendor, Rightscorp. Here, Cox accepted some infringement notices from

 Plaintiffs but put a cap on the amount. Regardless of whether internal emails discuss that cap as

 to Plaintiffs or others, Cox’s reasoning behind and decision to impose such caps is relevant to

 whether Cox willfully blinded itself to infringement of Plaintiffs’ works. Both cases encompass

 Plaintiffs’ claims period, along with Cox’s continued provision of service to particular subscribers

 it knew were using its service to infringe. Just as in BMG, Cox’s emails do not need to specifically

 reference Plaintiffs or Plaintiffs’ works in order to be relevant to proving Cox’s willful




                                                      8
Case 1:18-cv-00950-LO-JFA Document 163 Filed 05/22/19 Page 9 of 14 PageID# 4258



 infringement and the need to deter BMG and others through a statutory damage award. As in the

 BMG case, Cox’s handling of DMCA notices from Plaintiffs and reckless disregard for their

 copyrights during Plaintiffs’ claim period cannot be understood in context without understanding

 Cox’s attitude towards and treatment of DMCA notices in the years that preceded that period (i.e.

 “F the dmca!!!” and “[e]very terminated Customer becomes lost revenue . . .”).

                b. Cox’s Responses to Other Requests Are Irrelevant Where They Do Not
                   Call for Production of the Requested Documents Sought Herein

        Where it concedes relevance, Cox misleadingly argues that the probative documents that

 Plaintiffs seek “are also the subject of one or more different discovery requests, for which Cox has

 already agreed to provide information and produce documents.” (Opp. at 7.) Cox lays out what it

 is willing to produce in response to separate requests (Opp. at 9), but fails to mention that its

 responses to those other requests would not include the sorts of probative emails that Plaintiffs

 highlighted in their Memorandum. For instance, an email showing a Cox employee that disregards

 infringement so Cox can receive more subscription revenue would not fall within Cox’s responses

 to those other requests unless it discusses Plaintiffs and copyright infringement.

        To be clear, Cox has agreed to produce merely “written policies,” “documents sufficient to

 show Cox’s policies,” documents regarding caps on the number of notices placed on Plaintiffs’

 agent, and documents concerning Plaintiffs and copyright infringement. (Opp. at 9.) That is not

 what this motion seeks, which is emails regarding Cox’s responses to, handling of, and attitude

 towards infringement notices. Cox patently misleads the Court in claiming it has already agreed

 to produce “documents sufficient to show how its policies were actually implemented.” (Opp. at

 9.) The discovery response they cite in support of that assertion says nothing of the sort. (See

 ECF No. 95-3 at 18.) Days before Plaintiffs filed their motion, Plaintiffs asked Cox to “please

 confirm [that] your agreement to produce ‘documents concerning Cox’s policies relating to



                                                      9
Case 1:18-cv-00950-LO-JFA Document 163 Filed 05/22/19 Page 10 of 14 PageID# 4259



 copyright infringement…’ includes (i) documents concerning the implementation of such

 policies.” (ECF No. 95-17 at 5.) In response, Cox clarified that Cox will “produce documents

 sufficient to show or identify Cox’s copyright infringement related policies in effect during

 Plaintiffs’ Claim Period[.]” (ECF No. 95-18 at 4.)

         Cox should not be permitted to mislead Plaintiffs and this Court and be rewarded by

 withholding important documents regarding core issues in the case.

         III.   Copyright Infringement Notices Involving the Same Cox Subscribers in
                Plaintiffs’ Notices

         This case involves Cox’s continued provision of service to subscribers it knew were using

 its service to infringe. There is no merit to Cox’s argument that the timing and scope of its

 knowledge of those subscribers’ infringement is irrelevant. Its claim of undue burden in producing

 the requested information is misleading and unconvincing.

                a. The Requested Notice Data Is Relevant

         This Court has already indicated that third-party infringement notices concerning the same

 subscribers identified in Plaintiffs’ infringement notices may be relevant. (Pls. Mem. at 9.) In

 arguing otherwise, Cox takes the unsupportable position that such third-party notices are only

 relevant if they involve the specific works in suit in this case. (Opp. at 11.) Cox cannot seriously

 claim it is irrelevant if it knew of specific subscribers infringing before Plaintiffs’ claim period, or

 apart from Plaintiffs’ notices, but continued to provide them with the service they used to infringe

 Plaintiffs’ rights. Recognizing that the information sought is relevant, Cox resorts to obfuscation.

         Cox misleadingly argues that Plaintiffs are attempting to hold Cox liable for purported

 harm to third parties. (Opp. at 11–13.) That is incorrect. Plaintiffs seek to hold Cox responsible

 for the infringement of Plaintiffs’ works only. Nonetheless, as a jury considers statutory damages




                                                       10
Case 1:18-cv-00950-LO-JFA Document 163 Filed 05/22/19 Page 11 of 14 PageID# 4260



 and Cox’s willfulness, it should understand when Cox first learned that the subscribers who

 infringed Plaintiffs’ works were using its service to infringe and what Cox knew about it.

         Cox also spins a yarn when it argues that Plaintiffs seek the notice data to show Cox’s

 generalized knowledge of infringement on its system. (Opp. at 12.) Again, it is simply not so.

 The requested notice data reflects Cox’s knowledge of “specific instances of infringement” that

 are relevant to the knowledge prong of contributory liability. BMG Rights Mgmt. (US) LLC v.

 Cox Commc'ns, Inc., 881 F.3d 293, 312 (4th Cir. 2018) (Cox is liable for contributory infringement

 if it “knew of specific instances of infringement or was willfully blind to such instances”). Third-

 party notices do not only show generalized knowledge that infringement was occurring somewhere

 on its network, as Cox contends. Rather, they show specific instances of copyright owners

 informing Cox, under penalty of perjury, of particular infringing subscribers. Those notices enable

 the “defendant [Cox] to have specific enough knowledge of infringement that the defendant [Cox]

 could do something about it.” Id.

         Lastly, Cox contends that in order to be relevant to willfulness, Cox’s emails must

 specifically reference Plaintiffs or Plaintiffs’ works. (Opp. at 11.) Not so. Even where an email

 does not mention a plaintiff or plaintiffs’ works, it may still be relevant to whether a defendant

 willfully blinded itself to infringement or acted with reckless disregard for the plaintiff’s

 copyrights. Taking Cox’s argument to its logical conclusion, it could have an email with the most

 egregious, anti-infringement statements ever made (i.e., “F the dmca!!!”), but it would not be

 evidence of willfulness unless it specifically referenced Plaintiffs or Plaintiffs’ works. To state the

 argument is to refute it.




                                                       11
Case 1:18-cv-00950-LO-JFA Document 163 Filed 05/22/19 Page 12 of 14 PageID# 4261



                   b. Cox’s Arguments on Burden and Proportionality Are Inapplicable

          Cox’s arguments concerning undue burden and proportionality are perplexing and should

 be rejected. Its argument is not responsive to Plaintiffs’ motion and overlooks what it can do.

          Cox completely ignores that, in light of its earlier objection to gathering and producing the

 actual infringement notices, Plaintiffs issued a new request that does not ask for copies of the actual

 notices themselves. To accommodate Cox’s concerns, Plaintiffs asked for “documents sufficient

 to show” the third-party infringement notices it received concerning the same subscribers cited in

 Plaintiffs’ notices. Nevertheless, Cox provides a long and largely irrelevant recitation on what is

 supposedly involved in “[p]roducing all third-party infringement notices that were directed to any

 of the 58,000 Accused Subscribers [i.e., the Cox subscribers identified in Plaintiffs’ infringement

 notices].” (Opp. at 13.) Rather than address Plaintiffs’ motion (and underlying request), Cox

 presents the Court with arguments concerning production of the copyright infringement notices

 themselves (as subsumed into “tickets” within Cox’s CATS system).

          Cox bends over backwards to argue why it cannot produce data sufficient to show the third-

 party infringement notices regarding the 58,000 subscribers. Yet it neglects to mention that it has

 already agreed to provide the very same data for those subscribers with respect to Plaintiffs’

 notices.3 If Cox can provide that information for those subscribers concerning Plaintiffs notices,

 there is no excuse for withholding notice data regarding those subscribers from other parties.

          Cox does not want to produce the information, so it again makes the situation appear overly

 complex. Cox argues that a manual, ticket-by-ticket review is required to review (i) tickets whose

 abuse type relates to copyright infringement to remove any complaints within that ticket


          3
            In a January 31, 2019 letter from Defendants to Plaintiffs, Defendants stated that “Regarding your proposal
 for handling PII [personally identifiable information], Cox will agree to provide a unique identifier for each subscriber
 for whom Cox received an infringement notice from Plaintiffs during the relevant time period, along with associated
 information in the notice or notices, including the date and IP address.” (ECF No. 95-18 at 1.)


                                                                12
Case 1:18-cv-00950-LO-JFA Document 163 Filed 05/22/19 Page 13 of 14 PageID# 4262



 concerning non-copyright complaints, and (ii) tickets of other abuse types to identify copyright

 infringement complaints associated with those tickets. (Opp. at 14.) Cox omits that the CATS

 database contains summary level information as to complaints concerning a given subscriber.

          For each Cox subscriber, CATS can display a summary of prior complaints, the type of

 each complaint, the associated date of each complaint, and the action taken on each complaint

 (e.g., “Sent Warning ‘DMCA’” or “Sent Reply ‘Hard Limit for Complaints’”), as shown below.




 Gould Decl. Ex. C (highlights above added for emphasis).4

          The “Copy Other” abuse type is an umbrella category for “the steps in responding to

 Copyright Infringement Take-down Notices.” Gould Decl. Ex. B. Thus, for each of the 58,000



 4
   Plaintiffs do not have a more legible copy of this document, which they have only because it was a deposition and
 trial exhibit in BMG. Those documents as received by Plaintiffs appear to be scans of printed paper. Cox has not
 produced the document (or any of the other trial or deposition exhibit) from its files, where presumably they exist in
 more readable condition.


                                                               13
Case 1:18-cv-00950-LO-JFA Document 163 Filed 05/22/19 Page 14 of 14 PageID# 4263



 subscribers, Cox could run a report on “Copy Other” and include this sort of summary information.

 Alternatively, Cox could provide the last in time ticket report for each subscriber, which, as above,

 would show their entire abuse record history. That would enable Plaintiffs to identify the timing

 and scope of Cox’s knowledge that a subscriber was using its service to infringe. The CATS report

 even includes the subscriber’s “ICOMS ID” (essentially the subscriber’s account number), which

 would allow Plaintiffs to correlate infringement notices for a subscriber to the revenue information

 that Cox has for payments received from the subscriber.

                c. The Third-Party Notices Will Not Create Time-Wasting Mini-Trials

        Finally, Cox claims that introducing third-party notices into the case would be a costly

 distraction. It is wrong. To begin with, the Court is more than capable of managing the conduct

 of a trial without allowing counsel to go astray into an area then-deemed extraneous. Moreover,

 Cox’s concerns are overblown. Mini-trials are unnecessary. What matters is the third-party’s

 allegation to Cox, made under penalty of perjury, and Cox’s knowledge of and reaction to the

 notice and subsequent notices.


  Dated February 8, 2019                                         Respectfully Submitted,

                                                                 /s/ Scott A. Zebrak   /
                                                                 Scott A. Zebrak (38729)
                                                                 Matthew J. Oppenheim (pro hac vice)
                                                                 Jeffrey M. Gould (pro hac vice)
                                                                 OPPENHEIM + ZEBRAK, LLP
                                                                 4530 Wisconsin Avenue, NW, 5th Floor
                                                                 Washington, DC 20015
                                                                 Tel: 202-480-2999
                                                                 scott@oandzlaw.com
                                                                 matt@oandzlaw.com
                                                                 jeff@oandzlaw.com

                                                                 Attorneys for Plaintiffs




                                                      14
